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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            Case No. 20-cv-24044-MIDDLEBROOKS/REID

   EDUARDO SOTO, as personal
   representative of the estate of
   OSVALDO SOTO,

   Plaintiff,

   v.

   EXPEDIA GROUP, INC.,

   Defendant.
   _________________________

                   JOINT DISCOVERY PLAN AND CONFERENCE REPORT

           In accordance with Fed. R. Civ. P. 26(f), S.D. Fla. L. R. 16.1(b)(2) and the Court’s

   January 22, 2024 Pretrial Scheduling Order (ECF No. 126), Plaintiff Eduardo Soto, as Personal

   Representative of the Estate of Osvaldo Soto, and Defendant Expedia, Group Inc., conferred

   telephonically on January 31, 2024, and thereafter by email, and file this Joint Discovery Plan

   and Conference Report (the “Report”).

   1.      CONFERENCE OF THE PARTIES
           In accordance with Fed. R. Civ. P. 26(f) and S.D. Fla. L.R. 16.1(b)(2), the parties

   stipulate that they held a telephonic scheduling conference on January 31, 2024, and continued to

   confer by email until the filing of this Report.

   2.      CONFERENCE REPORT
           A.      Estimated valuation of the case:
           Due to the nature of the case, and the fact that the parties are early in the discovery

   period, it is difficult to place a value on the case at this time. The parties will continue to assess

   the estimated valuation of the case through the discovery process.
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          B.     Date for exchanging initial disclosures pursuant to Rule 26(a)(l):
          The parties propose that initial disclosures be exchanged by February 14, 2024.
          C.     Subjects on which discovery may be needed:

          The parties intend to seek discovery as to the basis for their respective claims and

   defenses, as well as the proper measure of damages. Some of those topics include:

                 • Defendant’s revenue from booking rooms at the subject property and from

                    advertising the property, if any;

                 • Whether Defendant complied with its general license related to the offering of

                    hotel reservations at the subject property;

                 • Plaintiff’s alleged claim of ownership of the subject property, including when

                    and how Plaintiff purportedly acquired that claim and when and how others in

                    the line of succession purportedly acquired their claims;

                 • Whether the alleged trafficking was “incident to lawful travel”;

                 • The value of the subject property; and

                 • The alleged confiscation of the subject property.

          D.     Whether the Parties can agree to limit discovery on particular issues through
          Stipulation

          The parties are open to stipulations and will discuss as matters arise throughout the

   discovery process.

          E.     What document discovery is needed

          The document discovery needed relates to the topics identified in section C, above.

          F.     Whether discovery should be conducted in phases:

          The parties do not believe that discovery should be conducted in phases.


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          G.     Whether the Parties expect to have disclosure, discovery, or preservation of
          electronically stored information, and if so, explain:

          The parties expect to have discovery of electronically stored information. The parties will

   work cooperatively to resolve as many issues regarding the disclosure, discovery, and

   preservation of ESI as possible without the Court’s assistance, including the preparation of an

   ESI protocol governing such issues.

          (a) the main information and documents sought;

          The information and documents sought relate to the topics identified in section C, above.

          (b) the expected costs of e-discovery;

          The parties anticipate that each party will incur e-discovery costs of approximately

   $3,000, but these costs are highly dependent on the volume of ESI produced in this matter. Most

   of the ESI produced in this matter will be produced by Defendant. The parties expect to incur

   additional costs for document collection and review.

          (c) whether alternatives to e-discovery are possible;

          The parties anticipate that e-discovery is needed because the document discovery

   expected from Defendant contains ESI.

          G.      What individuals each side intends to depose;

          While a complete list of individuals to depose will be developed once the parties have

   exchanged their initial disclosures and conducted written discovery, each party anticipates

   deposing those witnesses identified in the opposing party’s Rule 26(a)(l) initial disclosures,

   interrogatory responses, and expert disclosures. Defendant also expects to depose individuals

   that Plaintiff previously identified as owning a claim to the subject property: Alejandro Soto,

   Orlando Soto, Graziella Soto, Osvaldo N. Soto, Eduardo Soto, Hon. Bertila Soto, Osvaldo Soto,

   Rigoberto Soto, Jorge Arturo Soto, Antonio J. Soto IV, Rosario M. Soto, Ashley J. Soto, Maria

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   Teresa Corripio Leiva, Miguel Abril, Gloria Corripio Soto Fonts, Margarita Abril, and Maria

   Elena Abril Del Valle.

          H.    Any issues about claims of privilege or of protection as trial-preparation
          materials, including-if the parties agree on a procedure to assert these claims after
          production-whether to ask the court to include their agreement in an order under
          Federal Rule of Evidence 502

          The parties do not yet anticipate any issues regarding claims of privilege or protection of

   materials as trial-preparation materials. The parties will endeavor to bring to the Court’s attention

   at the earliest indication that such rulings are necessary. That being said, the parties expect to

   work cooperatively to agree on a procedure to assert claims of privilege and to include that

   agreement in an order under Federal Rule of Evidence 502.

          I.    What changes should be made in the limitations on discovery imposed by the
          Federal Rules of Civil Procedure or the Local Rules

          The parties do not anticipate the need for any changes to the limitations imposed by the

   Federal Rules of Civil Procedure or the Local Rules.

          J.     Whether early mediation or a settlement conference with a Magistrate Judge
          prior to the close of discovery would be helpful.

          It is Plaintiff’s position that early mediation would be helpful. Defendant is assessing

   whether early mediation would be helpful.



   Dated: February 2, 2024

   Respectfully submitted,

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